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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

    BARRY R. GLAZER,
                                                         Case No. 1:25-cv-1560-GLR
                      Plaintiﬀ,
    v.

    META PLATFORMS, INC, et al.

                       Defendants.



         CONSENT MOTION FOR EXTENSION OF TIME TO FILE RESPONSE TO
                               COMPLAINT

         Pursuant to Federal Rule of Civil Procedure 6(b)(1)(A) and Local Rule 105.9, Defendant

Meta Platforms, Inc. (“Meta”)1 moves for an extension of time to respond to the Complaint until

July 31, 2025. Counsel for Plaintiff consented to this motion on June 10, 2025.

         Plaintiff served Meta with the Complaint on May 30, 2025, meaning Meta’s response to

the Complaint is currently due on June 20, 2025. Because this motion is filed before that date,

Meta need only “demonstrate ‘good cause’ for an extension.” Reichert v. Hornbeck, 2025 WL

958774, at *2 (D. Md. Mar. 31, 2025) (quoting Fed. R. Civ. P. 6(b)(1)(A)). Meta seeks the

extension to July 31 to retain counsel and evaluate its planned response to the Complaint. If

retained, undersigned counsel and other team members at Wilmer Cutler Pickering Hale and Dorr

LLP also have competing demands in other cases that will make it difficult to file the intended

response before the current deadline. Other courts in this district have recognized that such reasons


1
  Though the Complaint also names Facebook, Inc. as a defendant, “Facebook, Inc.” became “Meta
Platforms, Inc.” in October 2021. Facebook, Inc. no longer exists. Meta reserves all rights,
including but not limited to the right to assert challenges to adequacy of service, the existence of
personal jurisdiction, and the propriety of venue. This motion and counsel’s contemporaneously
filed notice of appearance are filed solely for purposes of obtaining additional time to review and
respond to the Complaint.

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satisfy the “good cause” standard. See Jahangiri v. Blinken, 2024 WL 1656269, at *2-3 (D. Md.

Apr. 17, 2024). And there is no prejudice to Plaintiff, who consents to the requested extension.

For these reasons, Meta respectfully requests an extension of time to respond to the Complaint

until July 31, 2025.



Dated: June 13, 2025                        Respectfully submitted,

                                                    /s/
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                                            Attorney for Defendants




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 13, 2025, I filed the foregoing using the Court’s CM/ECF

system, which will send a notice of the filing to counsel for all parties.



                                                      /s/
                                               Kevin M. Lamb




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